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  6   BOSCO CREDIT LLC, its successors and/or assigns

  7
                               UNITED STATES BANKRUPTCY COURT
  8
                   NORTHERN DISTRICT OF CALIFORNIA- OAKLAND DIVISION
  9
 10
      In re:                                     )   Case No.: 16-41297
 11
                                                 )   Chapter: 13
 12   GABRIEL ORION GUTIERREZ aka                )
      GABE GUTIERREZ,                            )   R.S. No. NLG-1
 13                                              )
                           Debtor.               )
 14
                                                 )   NOTICE OF MOTION FOR RELIEF FROM
 15                                              )   AUTOMATIC STAY UNDER 11 U.S.C. § 362
                                                 )   (REAL PROPERTY)
 16                                              )
                                                 )   Date:         08/22/2018
 17
                                                 )   Time:         9:30 am
 18                                              )   Ctrm:         220
                                                 )   Location:     1300 Clay Street
 19                                              )                 Oakland, CA 94612
 20                                              )
                                                 )
 21
 22            TO THE HONORABLE WILLIAM J. LAFFERTY, UNITED STATES
 23   BANKRUPTCY JUDGE, THE DEBTOR, THE CHAPTER 13 TRUSTEE, THEIR
 24   COUNSEL OF RECORD, IF ANY, AND ALL OTHER PARTIES IN INTEREST:
 25            PLEASE TAKE NOTICE THAT a hearing on Movant’s BOSCO CREDIT LLC, its
 26   successors and/or assigns (“Movant”) Motion for Relief from the Automatic Stay Under 11
 27   U.S.C. § 362 (“Motion”) will be heard on August 22, 2018, at 9:30 a.m., in Courtroom 220 of the
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Case: 16-41297     Doc# 62NOTICE
                            Filed:
                                 OF 07/17/18   Entered:
                                    MOTION FOR RELIEF    07/17/18
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                                                           AUTOMATIC STAY        Page 1 of 2
  1   above captioned Court located at 1300 Clay Street, Oakland, CA 94612 before the Honorable
  2   William J. Lafferty.
  3          This Motion is being made pursuant to Local Bankruptcy Rule 4001-1, 11 United States
  4   Code § 362(d) and Federal Rules of Bankruptcy Procedure Rule 4001 and is based on this Notice
  5   of Motion and the grounds for relief from stay under 11 U.S.C. § 362(d) set forth in the
  6   accompanying Motion for Relief from the Automatic Stay, Memorandum of Points and
  7   Authorities in Support of the Motion for Relief from the Automatic Stay and the Declaration in
  8   Support of the Motion for Relief from the Automatic Stay filed concurrently herewith, the
  9   complete files and records in this action, the oral argument of counsel, if any, and such other and
 10   further evidence as the Court might deem proper.
 11          PLEASE TAKE FURTHER NOTICE THAT pursuant to Local Bankruptcy Rule
 12   4001-1(c), Movant has filed and served its Motion with at least fourteen (14) days prior to the
 13   hearing date. Any party seeking to oppose the Motion must appear personally or by counsel at
 14   the above-noticed preliminary hearing and indicate the basis of the opposition. Respondents
 15   opposing the Motion are not required, but may, file responsive pleadings, points and authorities
 16   or declarations for any preliminary hearing. Failure to appear at the preliminary hearing, either
 17   personally or by counsel, may deemed by the Court to be consent to the granting of the relief
 18   requested in the Motion.
 19                                                        Respectfully submitted,
 20                                                        WRIGHT, FINLAY & ZAK, LLP
 21   Dated: July 17, 2018                          By:    /s/ Nichole L. Glowin
                                                           Nichole L. Glowin, Esq.
 22                                                        Attorneys for Movant, BOSCO CREDIT
 23                                                        LLC, its successors and/or assigns

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